

People v Selph (2024 NY Slip Op 51522(U))



[*1]


People v Selph (Chad)


2024 NY Slip Op 51522(U)


Decided on November 11, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on November 11, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



570698/17

The People of the State of New York, Respondent, 
againstChad Selph, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Lyle E. Frank, J., at speedy trial motion; Curtis Farber, J., at plea and sentencing), rendered October 3, 2017, convicting him, upon his plea of guilty, of driving while intoxicated, and imposing sentence.




Per Curiam.
Judgment of conviction (Lyle E. Frank, J., at speedy trial motion; Curtis Farber, J., at plea and sentencing), rendered October 3, 2017, affirmed.
Defendant forfeited review of his speedy trial claim by pleading guilty (see People v Suarez, 55 NY2d 940, 942 [1982]; People v Joyce, 226 AD3d 541 [2024], lv denied 41 NY3d 1019 [2024]). The current version of CPL 30.30(6), which permits defendants who pleaded guilty to raise statutory speedy trial claims on appeal, became effective after defendant was convicted and does not apply retroactively (see People v Rodriguez, 216 AD3d 436 [2023], lv denied 40 NY3d 999 [2023]; People v Lara—Medina, 195 AD3d 542 [2021], lv denied 37 NY3d 993 [2021]).
In any event, defendant did not preserve his statutory speedy trial claim, and we decline to review it in the interest of justice. Defendant made a generalized CPL 30.30 motion merely asserting the People's lack of readiness on various dates, and did not, by way of a reply or otherwise, challenge the People's specifically claimed exclusions (see People v Allard, 28 NY3d 41, 46—47 [2016]; People v Winston, 177 AD3d 524 [2019], lv denied 34 NY3d 1164 [2020]). Nor did defendant make any specific assertions raising factual disputes that would require a hearing (see People v Rosa, 164 AD3d 1182, 1183 [2018], lv denied 32 NY3d 1114 [2018]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: November 11, 2024









